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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 13–cv–03309–REB–KMT


  MARTIN THOMAS WIRTH,

         Plaintiff,

  v.

  JOHN HICKENLOOPER, in his official capacity as Governor of Colorado,
  JOHN SUTHERS, in his official capacity as Attorney General of Colorado,
  STEPHEN A. GROOME, in his official capacity as 11th District Court Judge,
  VICKI ARMSTRONG, in her official capacity as Public Trustee of Park County,
  NATIONSTAR MORTGAGE, LLC,
  LAWRENCE E. CASTLE, in his corporate and individual capacities,
  THE CASTLE LAW GROUP, LLC,
  MARY HAGER, individually, and
  FEDERAL NATIONAL MORTGAGE ASSOCIATION (FANNIE MAE),

         Defendants.


            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE


         This matter is before the court on Plaintiff’s “Emergency Motion for Temporary

  Restraining Order Pursuant to Rule 65(b)” (Doc. No. 62 [Mot.], filed June 2, 2014). Defendant

  Armstrong filed her response on June 2, 2014 (Doc. No. 79 [Resp.]), and Plaintiff filed his reply

  on June 3, 2014 (Doc. No. 65 [Reply]).

         The court must construe the motion liberally because Plaintiff is a pro se litigant. See

  Haines v. Kerner, 404 U.S. 519, 520-21 (1972); Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir.

  1991). However, the court should not act as a pro se litigant’s advocate. Hall, 935 F.2d at 1110.
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         This action arises from a public trustee foreclosure proceeding. (See Doc. No. 14.) In his

  complaint, Plaintiff seeks injunctive relief to prevent Park County from selling his property and

  evicting Plaintiff from his property, to stop all foreclosure proceedings and vacate the foreclosure

  judgment, and to repeal the Colorado foreclosure statutes. (See id. at 40-41.) In his present

  motion, Plaintiff seeks an order “[r]estraining the Park County Sheriff from entering and evicting

  the Plaintiff from his property and home.” (Mot., ¶ 19.)

         A party seeking preliminary injunction must meet the following four conditions:

         (1) the movant will suffer irreparable harm unless the injunction issues; (2) there
         is a substantial likelihood the movant ultimately will prevail on the merits; (3) the
         threatened injury to the movant outweighs any harm the proposed injunction may
         cause the opposing party; and (4) the injunction would not be contrary to the
         public interest.

  ACLU v. Johnson, 194 F.3d 1149, 1155 (10th Cir. 1999). A party seeking injunctive relief must

  found his effort on specific factual allegations. Longstreth v. Maynard, 961 F.2d 895, 902 (10th

  Cir. 1992). Ultimately, because “a preliminary injunction is an extraordinary remedy,” the

  moving party must establish that his “right to relief [is] clear and unequivocal.” Schrier v. Univ.

  of Colo., 427 F.3d 1253, 1258 (10th Cir. 2005).

         To obtain injunctive relief, Plaintiff must first show that he will suffer irreparable injury

  if his request for injunctive relief is denied. Schrier, 427 F.3d at 1258. “To constitute

  irreparable harm, an injury must be certain, great, actual ‘and not theoretical.’” Heideman v. S.

  Salt Lake City, 348 F.3d 1182, 1189 (10th Cir. 2003) (quoting Wis. Gas Co. v. FERC, 758 F.2d

  669, 674 (D.C. Cir. 1985)). Irreparable harm is more than “merely serious or substantial” harm.

  Id. (citation omitted). The party seeking the preliminary injunction “must show that ‘the injury

  complained of is of such imminence that there is a clear and present need for equitable relief’ to


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  prevent irreparable harm.” Id. (citation omitted). Therefore, to demonstrate irreparable harm,

  Plaintiff “must establish both that harm will occur, and that, when it does, such harm will be

  irreparable.” Vega v. Wiley, 259 F. App’x 104, 106 (10th Cir. 2007). Finally, an injunction is

  only appropriate “to prevent existing or presently threatened injuries. One will not be granted

  against something merely feared as liable to occur at some indefinite time in the future.”

  Connecticut v. Massachusetts, 282 U.S. 660, 674 (1931).

          Plaintiff states if he is evicted from his home he will be “homeless and vulnerable to

  assaults, thereby ending the lawful prosecution of this case.” (Mot., ¶ 18.) However, Plaintiff

  cannot establish that he will suffer irreparable harm absent a TRO because he does not allege that

  he has a present right to remain in his home. Eviction from property that one does not own does

  not constitute irreparable harm. Allen v. United Props. & Constr., Inc., 07–cv–00214–LTB–

  CBS, 2008 WL 4080035, at *18 (D. Colo. Sep. 3, 2008) (citing Wendt v. Edward D. “Tito”

  Smith, 2003 WL 21750676, at *3 (C.D. Cal. 2003)).

          If even Plaintiff could demonstrate irreparable harm, Plaintiff has failed to demonstrate

  that “the threatened injury . . . outweighs whatever damage the proposed injunction may cause

  the opposing party” and that “the injunction, if issued, would not be adverse to the public

  interest.” Schrier, 427 F.3d at 1258. The court finds that the public interest is best served by

  upholding the bright-line rule that Court interference is limited to only those extreme cases

  where irreparable injury is clear. The court finds that Plaintiff has failed to meet his burden in

  relation to this factor.

          Finally, Plaintiff must show that he has a substantial likelihood of success on the merits

  of his claims. Schrier, 427 F.3d at 1258. Plaintiff fails to specifically address whether he would


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  succeed on the merits of any of his underlying claims. As such, Plaintiff has failed to set forth

  sufficient proof, at this stage, that he is likely to succeed on the merits of the claims asserted in

  his Complaint. Moreover, pursuant to the Rooker-Feldman doctrine,1 federal district courts are

  precluded from conducting appellate type review of state court judgments, including those that

  authorize and confirm the sale of property. See Beeler Props., LLC v. Lowe Enters. Residential

  Investors, LLC, No. 07–cv–00149, 2007 WL 1346591, at *2 (D. Colo. May 7, 2007) (explaining

  that the doctrine “applies in cases brought by state-court losers complaining of injuries caused by

  state-court judgments rendered before the district court proceedings and commenced and inviting

  district court review and rejection of those judgments”) (citing Exxon Mobil Corp. v. Saudi Basic

  Indus. Corp., 544 U.S. 280, 284 (2005)); see also Mann v. Boatright, 477 F.3d 1140, 1146 (10th

  Cir. 2007) (stating same principle).

         Pursuant to Plaintiff’s allegations in the complaint and attached to his reply (Doc. No. 65-

  1), the Park County Court appears to have fully-adjudicated the parties’ rights in connection with

  the property at issue. As such, this Court is precluded from reviewing or interfering with the

  further sale or possession of the property or with the Park County Court’s foreclosure-related

  decisions. Such interference would require this Court to substitute its judgment for those of the

  state court on the issue of property rights.

         Accordingly, this court respectfully

         RECOMMENDS that Plaintiff’s “Emergency Motion for Temporary Restraining Order

  Pursuant to Rule 65(b)” (Doc. No. 62) be DENIED.



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   The doctrine is named for the decisions in District of Columbia Court of Appeals v. Feldman,
  460 U.S. 462 (1983), and Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923).

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                                ADVISEMENT TO THE PARTIES

         Within fourteen days after service of a copy of the Recommendation, any party may

  serve and file written objections to the Magistrate Judge’s proposed findings and

  recommendations with the Clerk of the United States District Court for the District of Colorado.

  28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); In re Griego, 64 F.3d 580, 583 (10th Cir. 1995). A

  general objection that does not put the District Court on notice of the basis for the objection will

  not preserve the objection for de novo review. “[A] party’s objections to the magistrate judge’s

  report and recommendation must be both timely and specific to preserve an issue for de novo

  review by the district court or for appellate review.” U.S. v. One Parcel of Real Property Known

  As 2121 East 30th Street, Tulsa, Oklahoma, 73 F.3d 1057, 1060 (10th Cir. 1996). Failure to

  make timely objections may bar de novo review by the District Judge of the Magistrate Judge’s

  proposed findings and recommendations and will result in a waiver of the right to appeal from a

  judgment of the district court based on the proposed findings and recommendations of the

  magistrate judge. See Vega v. Suthers, 195 F.3d 573, 579-80 (10th Cir. 1999) (District Court’s

  decision to review a Magistrate Judge’s recommendation de novo despite the lack of an objection

  does not preclude application of the “firm waiver rule”); One Parcel of Real Property, 73 F.3d at

  1059-60 (a party’s objections to the Magistrate Judge’s report and recommendation must be both

  timely and specific to preserve an issue for de novo review by the District Court or for appellate

  review); International Surplus Lines Insurance Co. v. Wyoming Coal Refining Systems, Inc., 52

  F.3d 901, 904 (10th Cir. 1995) (by failing to object to certain portions of the Magistrate Judge’s

  order, cross-claimant had waived its right to appeal those portions of the ruling); Ayala v. United

  States, 980 F.2d 1342, 1352 (10th Cir. 1992) (by their failure to file objections, plaintiffs waived


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  their right to appeal the Magistrate Judge’s ruling). But see, Morales-Fernandez v. INS, 418

  F.3d 1116, 1122 (10th Cir. 2005) (firm waiver rule does not apply when the interests of justice

  require review).

         Dated this 23rd day of June, 2014.




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